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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
 __________________________________________________________________________

 APRIL PARCHMAN, as Administrator     )
 Ad Litem of the Estate of Jeffrey    )
 Parchman, deceased and on behalf of all
                                      )
 others similarly situated and ANN    )
 PARCHMAN, individually and on        )
 behalf of all others similarly situated,
                                      )       Case No: 2:15-cv-02819-JTF-cgc
                                      )
             Plaintiffs,              )
                                      )
 v.                                   )
                                      )
 SLM CORP., NAVIENT CORP.,            )
 NAVIENT SOLUTIONS, INC. f/k/a        )
 SALLIE MAE INC., and SALLIE MAE )
 BANK,                                )
                                      )
             Defendants.              )
 ______________________________________________________________________________

            ORDER GRANTING UNOPPOSED MOTION TO WITHDRAW
 ______________________________________________________________________________

        Before the Court is attorney Bryan K. Clark’s unopposed Motion to Withdraw as counsel

 on behalf of Defendants SLM Corporation, Navient Corporation, Navient Solutions, Inc., f/k/a

 Sallie Mae Bank and Sallie Mae Bank (collectively, “Defendants”) filed on March 8, 2019.

 (ECF No. 151.) The motion is well-taken. Accordingly, Bryan K. Clark is allowed to withdraw

 as counsel for Defendants in this case.



           IT IS SO ORDERED on this 12th day of March, 2019.


                                                  s/John T. Fowlkes, Jr.
                                                  JOHN T. FOWLKES, JR.
                                                  UNITED STATES DISTRICT JUDGE
